                                                                                                 JAS-8

                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF VIRGINIA
                                   Danville Division


  UNITED STATES OF AMERICA,                              )
                      Prosecution,                       )
                                                         )
  v.                                                     )       Case No. 4:18CR00012
                                                         )
                                                         )
  JERMAY ANTONIO SMITH, JR.,                             )
                     Accused.                            )


         MR. SMITH’S OPPOSITION TO THE PROSECUTION’S MOTION FOR AN
                              ANONYMOUS JURY

          The Accused, Jermay Antonio Smith, Jr., respectfully opposes the prosecution’s motion

  to empanel an anonymous jury in this case. Using an anonymous jury would impede the voir

  dire process and erode the presumption of innocence by creating the false impression that Mr.

  Smith is a danger to the jury. Mr. Smith’s opposition thus rests on his rights to a fair trial, to due

  process, to be presumed innocent, to an impartial jury, to a trial by jury, to the effective

  assistance of counsel, to be free of cruel and unusual punishment, and other rights guaranteed by

  the Fifth, Sixth, and Eighth Amendments to the United States Constitution.

                                             ARGUMENT

       1. Applicable Legal Standard

          The prosecution has not carried its burden to prove that this is the rare case where an

  anonymous jury should be empaneled. “A district court should rarely empanel an anonymous

  jury . . . .” United States v. White, 810 F.3d 212, 225 (4th Cir. 2016). “[I]n capital cases, the

  district court may only empanel an anonymous jury after determining, ‘by a preponderance of the

  evidence that providing the list [of the members of the venire and their places of abode] may

  jeopardize the life or safety of any person.” United States v. Dinkins, 691 F.3d 358, 372 (4th Cir.




Case 4:18-cr-00012-MFU-RSB Document 298 Filed 04/10/19 Page 1 of 10 Pageid#: 1178
  2012) (quoting 18 U.S.C § 3432) (emphasis added) (alteration in original).1 In Dinkins, the

  Fourth Circuit made clear that “[t]he decision to empanel an anonymous jury and to withhold

  from the parties biographical information about the venire members is, in any case, ‘an unusual

  measure,’ which must be plainly warranted by the particular situation presented.” Id. (citing

  United States v. Vario, 943 F.2d 236, 239 (2d Cir. 1991)) (citation omitted) (emphasis added). In

  particular, there must be “strong reason to conclude that the jury needs protection from

  interference or harm, or that the integrity of the jury’s function will be compromised if the jury

  does not remain anonymous.” Id. (citing United States v. Shryock, 342 F.3d 948 (9th Cir.

  2003)). Notably, this is a “more restrictive” standard than that applicable to non-capital cases.

  Id. at 377.

          The Fourth Circuit requires evidence, not speculation, to warrant an anonymous jury. In

  Dinkins, the Court observed that “the plain language of Section 3432 requires that a district court

  base its decision to empanel an anonymous jury on evidence that was in the record at the time of

  the district court’s ruling.” Id. at 373 (emphasis added). The Court “may not rely solely on the

  indictment to support its decision to empanel an anonymous jury under Section 3432, because an

  indictment is not evidence.” Id. “Although an indictment may inform a district court’s

  understanding of the case, the language of Section 3432 requires that a decision to empanel an

  anonymous jury be supported by a preponderance of the evidence.” Id.

          Anonymous juries are disfavored because they seriously endanger multiple constitutional

  protections. First, “anonymous juries may infer that the dangerousness of those on trial required

  their anonymity, thereby implicating defendants’ Fifth Amendment right to a presumption of

  innocence.” Shryock, 342 F.3d at 971. Second, “the use of an anonymous jury may interfere


  1
    Mr. Smith agrees with the prosecution that the capital standard should be applied to this case.
  See Doc. 283 n.3 (citing United States v. Hall, 506 Fed. App’x 245 (4th Cir. 2013)
  (unpublished)).

                                      2
Case 4:18-cr-00012-MFU-RSB Document 298 Filed 04/10/19 Page 2 of 10 Pageid#: 1179
  with defendants’ ability to conduct voir dire and to exercise meaningful peremptory challenges,

  thereby implicating defendants’ Sixth Amendment right to an impartial jury.” Id. The

  prosecution is thus asking for a procedure that would seriously derogate from Mr. Smith’s

  constitutional rights, and (as set forth below) has failed to prove its necessity.

     2. Application to This Case

             a. This is not the rare case in which an anonymous jury is warranted

         At the outset, two points must be emphasized. First, no one in this case is charged with

  obstructing justice, witness tampering, or any other similar offense. See Doc. 5. In its Motion,

  the prosecution repeatedly emphasizes the alleged behavior of defendants in United States v.

  Davis, 4:18-cr-11, ignoring the fact that none of those defendants are on trial in this case. See,

  e.g., Doc. 5 at 2 (“members of the Rolling 60s Crips gang were involved in obstructing justice by

  intimidating and threatening witnesses.”); id. (noting that a Grand Jury indicted “Millas” and

  “Rollin 60s” for “a variety of other charges, including obstruction-related offenses” but failing to

  note that no alleged “Millas” were charged with obstruction-related offenses); id. at 8–9 (relying

  solely on obstruction allegations against defendants in Davis). The law is clear, however, that

  the prosecution must show by a preponderance of evidence that this is the rare case in which an

  anonymous jury would be required.

         Second, comparing this case to those in which an anonymous jury has been upheld

  reveals that the prosecution’s request is extraordinary. The prosecution in this case asks that the

  venire list be redacted so that even counsel would be deprived of prospective jurors’ names and

  addresses. Motion at 11. But anonymous juries are used in far more extreme circumstances than

  exist here, and even then, both counsel and defendants have been provided with more

  information. In Hager, for example, the Fourth Circuit approved the use of an anonymous jury

  in a death penalty case where the defendant had a previous obstruction conviction. As the court



                                      3
Case 4:18-cr-00012-MFU-RSB Document 298 Filed 04/10/19 Page 3 of 10 Pageid#: 1180
  noted, because of this conviction, “the defendant ha[d] shown a propensity for interfering with

  the judicial process.” United States v. Hager, 721 F.3d 167, 188 (4th Cir. 2013). Still, both the

  defendant and his attorney were provided with the venire list. (The jury was semi-anonymous,

  because “they were referred to only by number in open court.” Id. at 186.)

          In Dinkins, the district court ordered an anonymous jury in part because the defendants

  “were charged with murdering government informants and witnesses . . . .” Dinkins, 691 F.3d at

  376. Additionally, “the record before the district court overwhelmingly supported a finding that

  the defendants previously had engaged in attempts to interfere with the judicial process. In fact,

  the district court based its decision to empanel an anonymous jury on this consideration alone.”

  Id. at 375 (citation omitted). Even in that case, there was individual voir dire, an “extensive jury

  questionnaire” with “many questions concerning the employment of the venire members and

  their spouses,” and “counsel were provided the zip codes, the county, and the neighborhoods in

  which the prospective jurors resided.” Id. at 379.

          In a capital retrial in the Western District, Judge Conrad ordered a semi-anonymous jury.

  United States v. Mathis, No. 3:14CR00016, 2015 U.S. Dist. LEXIS 111250 (W.D. Va. Aug. 21,

  2015). In that case, “the defendants previously engaged in efforts to interfere with the judicial

  process.” Id. at *17–18. Four defendants were charged with murdering a witness and the only

  two other defendants were charged with obstruction of justice for destroying evidence in the

  same murder of a witness. Id. at *18. “Additionally, during the first trial . . . one of the

  defendants removed the jury panel list from the courtroom and took it to his jail cell overnight.”

  Id. Media coverage was “considerable” and the case was “well-covered by numerous media

  outlets throughout Virginia.” Id. at *19. Even under those circumstances, counsel had “full

  access to all juror information” but were not allowed to share names, addresses, and employers

  with their clients. Id. at *20.



                                      4
Case 4:18-cr-00012-MFU-RSB Document 298 Filed 04/10/19 Page 4 of 10 Pageid#: 1181
           In other words, even a semi-anonymous jury is reserved for extremely rare occasions. Of

  course, a fully anonymous jury—such as the prosecution requests here—occurs in only the rarest

  circumstances. For example, the Fourth Circuit in White upheld the use of an anonymous jury

  where the defendant’s “previous convictions each ‘reflect[ed] his willingness to use threats or

  personal information to intimidate persons involved in judicial proceedings.’” White, 810 F.3d at

  225–26. The defendant in White had a prior conviction for soliciting a violent offense against a

  juror in the Matt Hale trial, and had posted the juror’s name, picture, address, and phone

  numbers, along with the statement that “[e]veryone associated with the Matt Hale trial has

  deserved assassination . . . .” Id. at 226; see also United States v. Byers, 603 F. Supp. 2d 826

  (2009) (empaneling an anonymous jury in large part because the defendant was charged with

  murder-for-hire of an eyewitness against him in a state murder case). White and Byers are the

  types of case where there is “strong reason” to believe that a juror could be endangered. Simply

  put, nothing like that exists in this case.

               b. The Ross factors

           Applying the non-exclusive Ross factors2 to this case, the prosecution falls far short of its

  burden of proof.

                       i. The defendant’s involvement in organized crime.

           It is inarguable that the prosecution has charged each of these defendants with

  racketeering conspiracy. Doc. 5 at 2–9. However, as set forth above, the indictment is not

  evidence, and there must be actual evidence that these defendants are involved in organized

  crime. Instead, the prosecution simply asserts that the defendants “terrorized the Danville,

  Virginia area through organized activity . . . .” Motion at 8. In support of that contention, the




  2
      Drawn from United States v. Ross, 33 F.3d 1507 (11th Cir. 1994).

                                      5
Case 4:18-cr-00012-MFU-RSB Document 298 Filed 04/10/19 Page 5 of 10 Pageid#: 1182
  prosecution cites only the indictment and three “Statements of Facts” filed pursuant to plea

  agreements in this case. Id. (citing Docs. 5, 190, 194, 252).

         The “Statements of Facts” are not evidence. Rather, they are self-serving, unconfronted

  documents signed by defendants who are eager for dropped charges and reduced sentences.

  Moreover, the pleas entered in this case have been made by DaShawn Anthony, Demetrius

  Staten, and Tanasia Coleman, all alleged leaders of the “Millas.” According to Anthony’s

  Statement of Facts, “he was the highest ranking Millas Bloods gang member in Danville” and

  was engaged in criminal activities with the “Millas” since 2015. Doc. 252 at 2. According to

  Staten’s Statement of Facts, he “was a ‘Five-Star’ General within the Millas” and committed

  crimes since 2014. Doc. 194 at 2. Meanwhile, Mr. Smith is a young man who was under

  eighteen for most of these allegations and is alleged only to have been a member of the “Millas.”

  Given that the alleged leaders of this group have entered agreements with the prosecution, there

  is no reason to believe that an ongoing criminal organization poses a threat to the jury.

  Anonymous juries are required in rare cases, not every racketeering case. Given the status of this

  case, there is even less reason to support an anonymous jury here.

                     ii. The defendant’s participation in a group with the capacity to harm jurors.

         Similarly, the idea that the “Millas” have the capacity to harm jurors is completely

  overblown. As set forth above, the alleged leaders of the “Millas” (Mr. Anthony and Mr. Staten)

  have reached agreements with the prosecution. The only defendants left in this case are young

  men alleged to have followed and listened to Mr. Anthony and Mr. Staten. In short, there is no

  evidence that the Millas are an existent group with the capacity to harm anyone.

         Perhaps for that reason, the prosecution’s argument focuses on the allegation that the

  “Millas” are a Bloods set, and that “members of the Millas, as well as the Bloods organization as

  a whole, must be seen as a potential threat to the sanctity of these proceedings.” Motion at 8



                                      6
Case 4:18-cr-00012-MFU-RSB Document 298 Filed 04/10/19 Page 6 of 10 Pageid#: 1183
  (emphasis added). However, the prosecution’s own allegations in this case belie that assertion.

  The prosecution alleges that (1) Anthony and Staten angered the Bloods leadership, (2) that the

  Millas were targets of the Bloods leadership, and (3) that this dispute between the Millas and the

  Billy Bloods (sanctioned by leadership) led to the August 20, 2016 shooting. See Doc. 190 at 3,

  Doc. 194 at 2–3, Doc. 252 at 3.3 The idea that “the Bloods organization as a whole, must be seen

  as a potential threat to the sanctity of the proceedings” is thus completely untethered from the

  allegations in this case. (And notably, none of the members of the sanctioned Bloods set have

  been charged with federal racketeering crimes.)

                    iii. The defendant’s past attempts to interfere with the judicial process.

         None of the defendants in this case have been charged with obstruction, witness

  tampering, or any similar crime. The prosecution points to the fact that two defendants in Davis

  (Shanicqua Coleman and Ashley Ross) have been charged with testifying falsely before the

  grand jury. Ms. Ross and two of her Davis codefendants also have been charged with witness

  tampering. But there is no evidence that any of the defendants in this case have attempted to

  interfere with the judicial process. Rather, the evidence suggests that if Mr. Smith or any of his

  codefendants had attempted to interfere, they would have been charged with it.

         The prosecution cites no case for the proposition that an anonymous jury can be forced

  on one group of defendants because an entirely separate group of defendants are alleged to have

  tampered with witnesses. Moreover, there is no reason to believe that any of the Davis

  defendants would attempt to interfere with the jury in this case. Davis proceeds to trial before

  this indictment, and the fate of the Davis defendants will be decided before a jury is even seated

  in this case. If concerns arise in the Davis case, then they can be dealt with in that case. But


  3
   As noted above, these Statements of Facts are not evidence against Mr. Smith. They are,
  however, filings that contain the prosecution’s factual allegations. As such, they can be used to
  evaluate the consistency of the prosecution’s arguments with its own allegations.

                                      7
Case 4:18-cr-00012-MFU-RSB Document 298 Filed 04/10/19 Page 7 of 10 Pageid#: 1184
  those allegations have nothing to do with Mr. Smith, a young man who is not alleged to have

  interfered with the process in any way.

         Notably, the prosecution states that “[t]hough most of the defendants are in custody, all

  are not.” Motion at 9. The fact that two of the Davis defendants who were charged with

  obstruction-related crimes were released on bond does not, however, support the prosecution’s

  position. Rather, it indicates that there is no evidence that those Davis defendants pose an

  ongoing threat to the judicial process. To release on bond defendants in another case who were

  actually charged with obstruction-related crimes and then penalize the defendants in this case for

  their release makes little sense.

                     iv. The potential that, if convicted, the defendant will suffer a lengthy

                         incarceration and substantial monetary penalties.

         It is inarguable that Mr. Smith and his codefendants face lengthy incarcerations.

  However, the Ross factors are an imperfect fit for capital-case analysis because of 18 U.S.C

  § 3432. The Fourth Circuit has explained “that the Ross factors are relevant to cases involving

  capital, as well as non-capital offenses to the extent that those factors shed light on the issues

  whether an anonymous jury is required” but that ultimately “the record must support” the finding

  required by 18 U.S.C. § 3432. Dinkins, 691 F.3d at 373. Notably, Section 3432 actually

  requires a higher standard for anonymous juries in capital cases, not a lower one. Thus, while

  the Court can consider the possibility of lengthy sentences in making this analysis, as the Dinkins

  Court did, it would be a perverse result to weigh the potential sentences too heavily in this case.

  The purpose of Section 3432 is to require more access to information, not less, in capital cases.

                      v. Extensive publicity that could enhance the possibility that jurors’ names

                         would become public and expose them to intimidation or harassment.




                                      8
Case 4:18-cr-00012-MFU-RSB Document 298 Filed 04/10/19 Page 8 of 10 Pageid#: 1185
          Mr. Smith disagrees that the media coverage in this case has been “extensive.” This case

  has been covered primarily by one newspaper, the Danville Register & Bee, with few other

  media mentions. The Register & Bee has covered the hearings in this case, but very few of the

  stories have received any internet comments. This includes the March 15, 2019 editorial cited by

  the prosecution.4 This does not amount to extensive publicity, and there is simply no reason to

  believe that the Register & Bee, let alone the other media outlets who have barely covered this

  case, will publicize the identities of jurors in this case.

      3. Conclusion

          In sum, the prosecution has failed to carry its burden of proof that providing the defense

  with the jury list would jeopardize anyone’s life or safety. As set forth in Dinkins, the use of an

  anonymous jury is an “unusual measure” that “must be plainly warranted,” and there must be

  “strong reason” to conclude that an anonymous jury is required. Dinkins, 691 F.3d at 372.

  Otherwise, section 3432 mandates that capital defendants be provided a list of the venire

  members and their addresses in advance of trial.

          An anonymous jury should be, and is, rare. The fact that Mr. Smith and his codefendants

  are charged with racketeering conspiracy is insufficient. Otherwise, there would be an

  anonymous jury in every alleged RICO case. There is no evidence that Mr. Smith or his

  codefendants have interfered with the judicial process in the past. On the contrary, Mr. Smith is

  eager for his day in court. Ordering an anonymous jury would tilt the scales in favor of the

  prosecution by eroding the presumption of innocence and impeding the selection of an impartial

  jury. While this might be a desirable result for the prosecution, it is simply unwarranted here.



  4
   The Editorial Board, “Justice For, and In Our Community,” DANVILLE REGISTER & BEE (March
  15, 2019), available at https://www.godanriver.com/opinion/editorials/justice-for-and-in-our-
  community/article_c227cd18-4690-11e9-aded-87ec3b247451.html (last accessed April 10,
  2019).

                                      9
Case 4:18-cr-00012-MFU-RSB Document 298 Filed 04/10/19 Page 9 of 10 Pageid#: 1186
          WHEREFORE, Mr. Smith respectfully requests that this Honorable Court deny the

   prosecution’s Motion for an Anonymous Jury.

                                                  Respectfully submitted,

                                                  JERMAY ANTONIO SMITH, JR.

                                                  s/ Bernadette Donovan

                                                  Matthew L. Engle
                                                  Virginia Bar No. 46833
                                                  Counsel for Mr. Smith
                                                  DONOVAN & ENGLE, PLLC
                                                  1134 East High Street, Unit A
                                                  Charlottesville, Virginia 22902
                                                  Phone: (800) 428-5214
                                                  Fax: (434) 465-6866
                                                  matthew@donovanengle.com

                                                  Bernadette M. Donovan
                                                  Virginia Bar No. 82054
                                                  Counsel for Mr. Smith
                                                  DONOVAN & ENGLE, PLLC
                                                  1134 East High Street, Unit A
                                                  Charlottesville, Virginia 22902
                                                  Phone: (800) 428-5214
                                                  Fax: (434) 465-6866
                                                  bernadette@donovanengle.com


                                             CERTIFICATE

          I, Bernadette Donovan, Esq., hereby certify that on this 10th of April, 2019, I

   electronically filed the foregoing with the Clerk of the Court using the CM/ECF system, which

   will send notification of such filing to all counsel of record.

                                                  s/ Bernadette M. Donovan




                                      10
Case 4:18-cr-00012-MFU-RSB Document 298 Filed 04/10/19 Page 10 of 10 Pageid#: 1187
